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 1   Craig A. Hansen (CA Bar No. 209622)          EDWARD HAN (SB# 196924)
      Email: craig@hansenlawfirm.net              edwardhan@paulhastings.com
 2   Stephen C. Holmes (CA Bar No. 200727)        JESSICA E. MENDELSON (SB# 280388)
      Email: steve@hansenlawfirm.net              jessicamendelson@paulhastings.com
 3   Philip E. Yeager (CA Bar No. 265939)         PAUL HASTINGS LLP
      Email: phil@hansenlawfirm.net               1117 S. California Avenue
 4   Collin D. Greene (CA Bar No. 326548)         Palo Alto, California 94304
      Email: collin@hansenlawfirm.net             Telephone: (650) 320-1800
 5   HANSEN LAW FIRM, P.C.                        Facsimile: (650) 320-1900
     75 E. Santa Clara Street, Suite 1250
 6   San Jose, CA 95113-1837                      JENNIFER BALDOCCHI (SB#168945)
     Telephone: (408) 715 7980                    jenniferbaldocchi@paulhastings.com
 7   Facsimile: (408) 715 7001                    TIMOTHY D. REYNOLDS (SB# 274589)
                                                  timothyreynolds@paulhastings.com
 8   Attorneys for Plaintiffs                     PAUL HASTINGS LLP
     Temujin Labs Inc., a Delaware corporation,   515 South Flower Street, 25th Floor Los
 9   and                                          Angeles, California 90071
     Temujin Labs Inc., a Cayman Islands          Telephone: (213) 683-6000
10   corporation.                                 Facsimile: (213) 627-0705

11                                                Attorneys for Defendants
                                                  Translucence Research, Inc., Benjamin Fisch,
12                                                Charles Lu, and Nathan McCarty

13
                                UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
15

16   TEMUJIN LABS INC., a Delaware                CASE NO.: 4:21-CV-09152-JST
     corporation, and TEMUJIN LABS INC., a
17   Cayman Islands corporation,                  STIPULATION AND JOINT REQUEST TO
                                                  CONTINUE CASE MANAGEMENT
18                     Plaintiffs,                CONFERENCE AND RELATED
                                                  DEADLINES; [PROPOSED] ORDER
19          v.
                                                  Courtroom: Courtroom 6, 2nd Floor
20   TRANSLUCENCE RESEARCH, INC., a               Judge: Hon. Jon S. Tigar
     Delaware corporation, BENJAMIN
21   FISCH, CHARLES LU, BENEDIKT                  Complaint Filed: November 24, 2021
     BÜNZ, NATHAN MCCARTY,
22   FERNANDO KRELL, PHILIPPE
     CAMACHO CORTINA, BINYI CHEN,
23   AND LUOYUAN (ALEX) XIONG, and
     DOES 1-20, inclusive,
24
                       Defendants.
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     STIPULATION AND JOINT REQUEST TO
     CONTINUE CASE MANAGEMENT CONFERENCE
        Case 4:21-cv-09152-JST Document 20 Filed 03/14/22 Page 2 of 5



 1          Pursuant to Fed. R. Civ. P. 16 & 26(f) and Civil Local Rules 6-1, 6-2, 16-2, 16-9 and 16-

 2   10, Plaintiffs Temujin Labs Inc., a Delaware corporation (“Temujin Delaware”) and Temujin

 3   Labs Inc., a Cayman Islands corporation (“Temujin Cayman”) (collectively, “Plaintiffs”) and

 4   Defendants Translucence Research, Inc., Benjamin Fisch, Charles Lu, and Nathan McCarty

 5   (collectively, “Defendants”), by and through their respective counsel, stipulate and request as

 6   follows:

 7                                              RECITALS

 8          Plaintiffs commenced this action on November 24, 2021.

 9          On November 26, 2021, the Court issued an Order Setting Initial Case Management

10   Conference and ADR Deadlines [Dkt. 6].

11          On December 21, 2021, Plaintiffs filed a Declination to Magistrate Judge Jurisdiction

12   [Dkt. 8].

13          On December 23, 2021, the Court issued an Order Reassigning Case [Dkt. 10].

14          On December 27, 2021, the Court issued Clerk’s Notice Setting Case Management

15   Conference [Dkt. 11] setting a Case Management Conference for March 29, 2022 at 2:00 p.m.,

16   and ordering that that a joint case management conference statement be filed March 22, 2022 by

17   5:00 p.m.

18          Plaintiffs assert that Defendants Translucence Research, Inc., Benjamin Fisch, Charles Lu,

19   and Nathan McCarty have all been served with the summons and complaint. Plaintiff has yet to

20   serve Benedikt Bünz, Fernando Krell, Philippe Camacho Cortina, Binyi Chen, and Louyuan

21   (Alex) Xiong.

22          On February 10, 2022, Defendants Translucence Research, Inc., Benjamin Fisch, and

23   Nathan McCarty moved for an order requesting that the Court issue an order setting a single

24   response date of March 18, 2022 for those three defendants [Dkt. 13].

25          On February 15, 2022, the Court granted the February 10 motion made by Defendants

26   Translucence Research, Inc., Benjamin Fisch, and Nathan McCarty [Dkt. 15].

27          On February 17, 2022, Plaintiffs moved for an enlargement of time to serve Defendants

28   Benedikt Bünz and Binyi Chen [Dkt. 17], who Plaintiffs believe reside within the United States.
      STIPULATION AND JOINT REQUEST TO             1                      CASE NO.: 4:21-CV-09152-JST
      CONTINUE CASE MANAGEMENT CONFERENCE
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 1          On February 28, 2022, the Court granted Plaintiffs’ motion for enlargement of time to

 2   serve Benedikt Bünz and Binyi Chen [Dkt. 18].

 3          On March 9, 2022, the Court issued an order stating that the parties have yet to file an

 4   ADR Certification as required by the Initial Case Management Scheduling Order, that Counsel

 5   shall comply promptly with the requirements of ADR L.R. 3-5(b), and shall file the ADR

 6   Certification [Dkt. 19].

 7          Due to the current case status – namely that Defendants have not responded to the

 8   Complaint yet and other defendants have not yet been served – the Plaintiffs and Defendants

 9   (collectively, the “Parties”) have not yet met and conferred regarding initial disclosures, early

10   settlement, ADR process selection, or a discovery plan. Therefore, the Parties have agreed (1) to

11   continue the Case Management Conference from March 29, 2022 at 2:00 p.m. to June 14, 2022 at

12   2:00 p.m., (2) that the joint case management conference statement would be due on June 7, 2022

13   by 5:00 p.m., and (3) that the deadline to hold the Rule 26(f) conference and to meet and confer

14   regarding initial disclosures, early settlement, ADR process selection, and a discovery plan, and

15   to file an ADR Certification would be May 24, 2022. Hansen Decl. ¶ 2.

16          The Parties request that the Court enter an order confirming the terms of the stipulation

17   between the Parties. The Parties assert that the instant request is made in accordance with Civil

18   L.R. 6-1(b), 6-2(a), 16-2(d) and 7-12. Counsel for the Parties believe that a continuance of the

19   Initial Case Management Conference, and a continuance of the other deadlines addressed above is

20   an efficient use of judicial and party resources. Hansen Decl. ¶ 3.

21          Pursuant to Civil L.R. 6-2(a)(2), there have been no previous time modifications in the

22   case (except as described herein).

23          Further, pursuant to Civil L.R. 6-2(a)(3), Plaintiffs and Defendants do not believe the

24   requested time modification would have a prejudicial effect on the schedule for the case. Trial

25   has not been set in the case, and no discovery has been served in this action. There has not yet

26   been a Case Management Conference. Hansen Decl. ¶ 4.

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      STIPULATION AND JOINT REQUEST TO                  2                     CASE NO.: 4:21-CV-09152-JST
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        Case 4:21-cv-09152-JST Document 20 Filed 03/14/22 Page 4 of 5



 1                                            STIPULATION

 2          The Parties therefore stipulate as follows:

 3          1.      The March 29, 2022 Case Management Conference shall be continued to June 14,

 4   2022 at 2:00 p.m.; the joint case management conference statement shall be due on June 7, 2022

 5   by 5:00 p.m.

 6          2.      The Parties shall hold the Rule 26(f) conference and meet and confer regarding

 7   initial disclosures, early settlement, ADR process selection, and discovery plan, and file an ADR

 8   Certification by May 24, 2022.

 9

10    DATED: March 14, 2022                       HANSEN LAW FIRM, P.C.
11

12                                                By:       /s/ Craig A. Hansen
                                                        Craig A. Hansen
13

14    DATED: March 14, 2022                       PAUL HASTINGS LLP

15
                                                  By:      /s/ Edward Han
16                                                      Edward Han
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18
                                          [PROPOSED] ORDER
19

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            Pursuant to the above stipulation, and good cause appearing, IT IS SO ORDERED.
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22
      DATED:
23                                                      Hon. Jon S. Tigar
                                                        United States District Judge
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      STIPULATION AND JOINT REQUEST TO                    3                  CASE NO.: 4:21-CV-09152-JST
      CONTINUE CASE MANAGEMENT CONFERENCE
        Case 4:21-cv-09152-JST Document 20 Filed 03/14/22 Page 5 of 5



 1
                                             ATTESTATION
 2
            I hereby attest that I obtained consent in the filing of this document from each of the other
 3
     signatories on this e-filed document.
 4

 5
      DATED: March 14, 2022                       HANSEN LAW FIRM, P.C.
 6

 7
                                                  By:       /s/ Craig A. Hansen
 8                                                      Craig A. Hansen

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      STIPULATION AND JOINT REQUEST TO                  4                    CASE NO.: 4:21-CV-09152-JST
      CONTINUE CASE MANAGEMENT CONFERENCE
